This is an appeal from a decision of the Industrial Accident Board and comes here for consideration under the provisions of the italicized proviso to sec. 18-5, chap. 182, 1941 Session Laws, which chapter is an amendment to chap. 239 of the 1939 Session Laws (p. 563, at 577). Subdivision (f) of sec. 18-5 of the 1939 Act, defines "covered employment" and contains only the following words, "*Agricultural labor." Subdivision (f) of the corresponding chapter and section of the 1941 Session Laws, reads as follows:
"(f) Services performed in the employ of an individual owner or tenant operating a farm in connection with the cultivation of soil, the production and harvesting of crops or the raising, feeding or managing of livestock, bees or poultry, or in connection with the processing, packing or *Page 373 
marketing of the produce of such farm where such processing, packing or marketing is an incident to the ordinary farming operations of such individual owner or tenant; provided,however, that nothing in this subsection shall be construed toexclude from the term 'covered employment' services performedin the employ of any person or persons who operate a farm orfarms only incidental to a principal occupation or occupationswhich would otherwise be termed covered employment within themeaning of this Act." (Italics inserted.)
The case was submitted to the Industrial Accident Board by stipulation of facts, which included "all of the evidence heard and admitted in the matter of the Carstens Packing Company for refund before the Industrial Accident Board . . . as shown in the transcript . . . in said matter," being the transcript in the case of Carstens Packing Co. v. Industrial Accident Board,63 Idaho 613, 123 P.2d 1001, decided under subsec. (f), sec. 18-5, chap. 239 of the 1939 Sess. Laws.
Appellant operates slaughtering and packing houses at Tacoma and Spokane, Washington, and owns and operates a large cattle ranch in Montana. It also owns three acres of land near Kimberly, Idaho, and has been lessee since 1927 of a 10-acre tract; since 1935 a 7-acre tract and a 28-acre tract near Jerome, Idaho. Sugar beets have been grown on about eight acres of the 28-acre tract; and the rest of the land has been covered with buildings, sheds, corrals, and for feeding yards used in feeding and fattening cattle and hogs. An average of 500 head of feeder cattle are transferred each year from Montana to Kimberly and Jerome, to be fed and fattened; and in addition thereto, appellant annually buys, feeds and fattens around 60,000 head of hogs, 8,500 cattle and 6,000 sheep at its Kimberly and Jerome feed yards. The hog feeding and fattening is a year-around business, with approximately the same number-being fed and fattened through the different seasons. All the sheep and about 90% of the cattle are handled by appellant and fed and fattened from October 1st to April 1st, and about 10% during the remainder of the year. Except for the sugar beets raised by appellant, the balance of the feed used in these operations is purchased from farmers in the neighborhood. The feeder livestock is not ready for slaughtering and butchering purposes until fed and fattened. *Page 374 
Of the feeder livestock thus handled at Kimberly and Jerome, the stipulation of facts show the following:
"9. That of said feeder livestock purchased, fed and fattened by the Carstens Packing Company in said operations at Kimberly and Jerome, Idaho, about 50% are shipped to the Carstens Packing Company's packing houses at Tacoma and Spokane, Washington, for slaughtering, and the remainder of said livestock are shipped and sold to eastern markets at Denver, Colorado, Omaha and Chicago and to southern markets at San Francisco, and Los Angeles, and western markets at Portland, Oregon, for slaughtering, depending upon the state of the market at said different places.
"10. That the purchasing of said feeder livestock and feeding and fattening of the same, and the purchasing of feed for them is done and carried on in the same way as is being done by farmers and stockraisers and livestock feeders in the vicinity of Kimberly and Jerome, Idaho."
Half the employees at Kimberly and Jerome are employed the year around; the others are employed only from October first to April first, the regular average number of employees in Idaho being about thirty. The packing plants at Tacoma and Spokane were operated many years before fattening operations were commenced in Idaho. Other packing companies in Washington, Oregon, Montana, and Idaho do not generally conduct such feeding and fattening operations.
The Industrial Accident Board found and concluded that the principal occupation of appellant is "packing, processing and dealing in meats and meat products and the slaughtering and manufacturing of slaughtered products"; that the feeding and fattening operations carried on by appellant in Idaho are"only incidental" to such principal occupation; that the services rendered in connection with such feeding and fattening operations, within the state of Idaho, are "only incidental" to the principal occupation, and that such services are consequently within the meaning of the term, "covered employment," as defined by secs. 18-3, 18-5, and 7-5, chap. 182, of the 1941 Session Laws.
The determination of this case depends upon the construction to be given to the proviso contained in subd. (f) of sec. 18-5, chap. 182 of the 1941 Session Laws (pp. 393-394) above quoted. *Page 375 
If the operations carried on by Carstens at Kimberly and Jerome were "only incidental" to the principal business of operating packing houses at Spokane and Tacoma, then the services rendered in connection therewith were "coveredemployment", within the meaning of sec. 18-3 of the Act.
It seems clear, from the facts, however, that the packing houses at Spokane and Tacoma run independently of the feeding and farming business carried on in Idaho and could continue to do so without the Idaho operations. On the other hand, feeding and marketing operations conducted in Idaho could just as well run and operate without the packing plants. In fact, the record shows that at least 50% of the stock fed in Idaho are sold to dealers other than the Carstens Packing Co. Otherwise stated, the conduct and operations of the one are wholly independent of the other; each may run without the aid, assistance, cooperation, or existence of the other. Neither is "only incidental" to the other. Furthermore, we do not think the legislature, in adopting this proviso, intended to declare an Idaho industry or business as "only incidental" to independent industries or operating plants from 400 to 600 miles distant in another state.
The contention, that the 1941 session of the legislature intended to remove this class of service and operations from the exempted class, by the adoption of subsections (e) and (f), sec. 18-5, chap. 182, is not sustained by the context of the act. Subsection (f), supra, is numbered and designated to take the place of the corresponding subsection of chap. 239 of the 1939 Session Laws (p. 577). That subsection contained only two words: ('39 S. L.) "*Agricultural labor"; see also CarstensPacking Co. v. Indus. Accident Bd., 63 Idaho 613,123 P.2d 1001. Subdiv. (f) was evidently inserted in chapter 182 of the 1941 Session Laws, for the purpose of enumerating the varieties of "agricultural labor" which were entirely undescribed or unenumerated in the 1939 statute. The words "only incidental" were, no doubt, intentionally employed in writing the new subsection proviso.
Section 18-5 of both the 1939 Session Laws ('39 S.L., chap. 239, p. 577) and the 1941 amendatory section ('41 S.L., chap. 182, p. 393) is devoted to "excepted employment" and undertook to enumerate the character of service which was not intended to be included within the terms, "covered employment." Subsec. (f) of the amendment, as *Page 376 
heretofore noted, was entirely new matter, the original subsec. (f) containing only the words "agricultural labor." (SeeBig Wood Canal Co. v. Unemployment Compensation Div., 61 Idaho 247,100 P.2d 49; Batt v. Unemployment Comp. Div., 69 Idaho 572,123 P.2d 1004, 39 A.L.R. 1157.) After enumerating various kinds and character of services of excepted employment, the legislature attempted to make it plain that there should not be excluded from the covered employment services performed in the employ of any person or persons operating a farm or farms "only incidental" to a principal occupation or occupations which would otherwise be termed "covered employment."
It will be observed that the legislature, in writing this proviso, was not content with simply saying "services . . . incidental to a principal occupation," but also modified and limited the word "incidental" by the word "only." Pausing for a moment to consider the meaning of these terms, we are informed by the lexicographers, that "incidental" is "something that is only an adjunct or incidental" to something else, whichsomething else is evidently the principal thing to which the other is "incidental."
Funk  Wagnalls Stand. Dictionary defines "incidental":
"1. Occurring in the course of or coming as a result or an adjunct of something else; concomitant; as, incidental
expenses.
"2. Happening or coming without regularity or design; foreign or subordinate to the general purpose; occasional; casual; accidental; as an incidental remark; incidental variations; anincidental acquaintance."
Black in his Law Dictionary, defines "incidental" as:
"Depending upon or appertaining to something else as primary, something necessary, appertaining to, or depending upon another which is termed the principal: something incidental to the main purpose." (Citing Robin Goodfellow (D.C.), 20 F.2d 924, and a number of other cases.)
The word "only" means, according to the authorities, when used as an adjective, "Sole, solitary, alone, single." When used as an abverb, "1. Merely, barely, simply, and nothing else. 2. Solely, no other than. 3. Single, without more." (Soule's Dictionary of Eng. Synonyms; see also Ordway's Synonyms and Antonyms; Funk  Wagnall's Stand. Dic.; 46 C.J., p. 1106, sec. 3.) *Page 377 
We are therefore forced to conclude that "only incidental", as herein used, means service performed for no other purpose than for the use, benefit and promotion of the "principal occupation or occupations which would otherwise be termed covered employment." It comprises a limitation necessarily difficult of application under a variety of facts and circumstances which may frequently arise.
In National Labor Relations Board v. Tovrea Packing Co.,111 F.2d 626, 628, the Circuit Court of Appeals for the Ninth Circuit, in reviewing an order of the National Labor Relations Board, in a case where somewhat similar facts existed, said:
"The nine employees whose reinstatement has been ordered were working in the mill and feeding pens at the time of their discharge, and respondent claims that their work was agricultural in character and that according to the terms of the Act (Sec. 2(3)] the board's order could not properly apply to them. The viewpoint of respondent is, that the adjacent mill and feeding pens are operated separately and practically independently of the packing plant, and that the work performed is practically the same as that done on respondent's stock feeding ranches, which of course is agricultural work. That, so runs the argument, since the status of the employee 'depends entirely on the nature of the work which he is employed to perform', it follows that the mill and feeding pen employees occupy the status of agricultural employees.
"The difficulty with respondent's position is: (a) The feed mill and feeding pens adjacent to the packing plant are maintained as an incident to and not independent of the operation of the packing plant; (b) The nature of the work alone does not determine the status of workers under the provisions of the Act. We are not called upon to determine the status of the employees on the ranches but we do not hesitate to say that while the grinding of the feed and the actual feeding on the ranches may be quite similar to such work done adjacent to the packing plant, divergent circumstances may well throw the employees of the ranches without and those of the packing plant within the terms of the Act."
Upon oral argument some suggestion was made on behalf of respondent, to the effect that feeding of livestock and conducting farming operations were not within the powers of the Carstens Company under their corporate charter. *Page 378 
No such issue is raised by the record on this appeal. It is not embraced within appellant's specifications of error and respondent has taken no cross-appeal. On the contrary, respondent states the issue in its brief, confronting the court as follows: "The question, therefore, presented for the court's determination is as to whether or not the operations of the Carstens Packing Company within the State of Idaho are only incidental to the principal occupation of packing and processing." We therefore pass, without further consideration, any question as to the operations of the appellant within the State of Idaho being in excess of its corporate powers.
The order of the board is reversed and the cause is remanded to the board, with direction to take further proceedings consistent with the views herein expressed. Costs awarded to appellant.
Budge and Dunlap, JJ., concur.